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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION

JOHN ROSS,

               Plaintiff,

v.                                                 Case No: 2:18-cv-514-FtM-99MRM

CRAVE OF FORT MYERS, INC.,
CRAVE MARKET & WICKED
SANDWICH CO. and SEAN GAVIN,

             Defendants.
                                         /

                                        ORDER1

      Before the Court is United States Magistrate Judge Mac R. McCoy’s Report and

Recommendation. (Doc. 23). Judge McCoy recommends that the parties’ Joint Motion

to Approve Settlement and Dismiss with Prejudice (Doc. 22) be granted. For the following

reasons, the Court accepts and adopts Judge McCoy’s Report and Recommendation.

      After conducting a careful and complete review of the findings and

recommendations, a district judge may accept, reject, or modify the magistrate judge's

report and recommendation. See 28 U.S.C. § 636(b)(1); see also Williams v. Wainwright,

681 F.2d 732 (11th Cir. 1982).      In the absence of specific objections, there is no

requirement that a district judge review factual findings de novo, Garvey v. Vaughn, 993


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F.2d 776, 779 n.9 (11th Cir. 1993), and the court may accept, reject, or modify, in whole

or in part, the findings and recommendations, 28 U.S.C. § 636(b)(1)(C). The district judge

reviews legal conclusions de novo, even in the absence of an objection. See Cooper-

Houston v. Southern Ry. Co., 37 F.3d 603, 604 (11th Cir. 1994).

      After independently examining the file and on consideration of Judge McCoy’s

findings and recommendation, the Court accepts and adopts the Report and

Recommendation.

      Accordingly, it is now

      ORDERED:

      1. The Report and Recommendation (Doc. 23) is ACCEPTED and ADOPTED.

      2. The parties’ Joint Motion to Approve Settlement and Dismiss with Prejudice

          (Doc. 22) is GRANTED. The settlement agreement and release (Doc. 22 at 8-

          11) is approved as a fair and reasonable resolution of a bona fide dispute.

      3. The action is DISMISSED with prejudice.

      4. The Clerk of Court is DIRECTED to enter judgment accordingly, dismiss the

          case with prejudice, terminate all pending motions and deadlines, and close

          the file.

      DONE and ORDERED in Fort Myers, Florida this 31st day of January 2019.




Copies: All Parties of Record




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